    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 1 of 22



THE BARGE GROUNDING

After the waters from Hurricane Katrina subsided, barge ING 4727 grounded in New
Orleans’ Lower Ninth Ward at the intersection of Jourdan Ave. and N. Roman St. This
location is approximately 150 feet inland of the IHNC floodwall as well as slightly south
of the very southern end of the south breach. Before the hurricane, the barge had been
moored at the Lafarge Terminal located across the IHNC from the Lower Ninth Ward.
On the morning of 29 August 2005, the barge was empty and was tied up outboard of
the loaded barge ING 4745 that was, in turn, tied up to the wharf. Immediately to the
north of barge ING 4727 there were five loaded barges tied up to the wharf. Of the
seven barges at the terminal, ING 4727 was the only one to break from its moorings.

In order to determine how the barge might have ended up at its resting location inside
the Lower Ninth Ward, the surrounding area and the barge itself were searched for any
evidence relating to the passage of the barge. Our team inspected the failed floodwall
as well as the area near the Lafarge Terminal where the barge was originally moored.
The purpose of the inspection was to collect evidence regarding how barge ING 4727
left the Lafarge Terminal and arrived in the Lower Ninth Ward.

Barge ING 4727’s Exit from the Lafarge Wharf Area

The following figure shows the position of barge ING 4727 moored at the Lafarge
Terminal along with several loaded barges at the time of Hurricane Katrina. This wharf
is situated off of the canal’s main channel in a basin that measures approximately 1200
by 700 feet. The Lafarge cement terminal is located on a wharf that occupies the
southern half of the west side of this basin.




                                           81
    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 2 of 22




Figure 53: The IHNC basin, Lafarge Terminal and barges. The Namasco gantry roof is
the white square object at the southern end of the slip.

In Figure 53, the original location of barge ING 4727 during Hurricane Katrina is shown
in red and the location of the loaded barges moored at the wharf is shown in green.
Although the exact timing of the breakaway and movement across the canal is not
known, it is clear that the barge was transported across the canal after both breaches
had already occurred, and there is evidence that allows a reasonable deduction of the
timing of these events.

The following photograph (Figure 54) was taken by a member of the IHNC lock staff and
was time stamped by the digital camera at 1503 (3:03 PM) on the afternoon of 29
August. This photo shows the south breach at a time when water was draining from the
Lower Ninth Ward and back into the IHNC. Shown on the right side of the photo is a
portion of the floodwall that is still standing at the lower (southern) end of the breach.
The end of the floodwall shows a notch where part of the concrete panel has been
cracked off (An explanation of this damage is provided a few pages below). The barge
had already been washed through the breach by this time and is just out of view on the
right side of this photograph.




                                           82
    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 3 of 22




Figure 54: Photo of IHNC south breach taken by IHNC Lock staff time stamped 1503
(3:03 PM) on 29 August 2005. The arrow shows the south end of the south breach.

Another critical piece of evidence that has been considered when establishing the time
of barge ING 4727’s departure from the Lafarge Terminal is the barge unloading gantry
that juts north into the basin from the warehouse on the basin’s south side wharf. This
structure is part of the Namasco Corp. Wharf and can be seen as the object with the
bright white roof in Figure 53.

The gantry, seen from ground level in Figure 55, is a steel truss structure built on pilings
and cantilevered over the basin. The structure is clad in corrugated steel sheets which
would show signs of damage if the barge had been blown into the structure. If the
barge had broken free of its moorings before 0900 (9:00 AM) it would have been blown
south, and the only way it could have entered the canal’s main channel would have
been to float under the gantry housing. But Katrina’s storm surge raised the water
levels to a height such that the barge could not have floated beneath the gantry if the
barge was blown to the south during Katrina without scraping and otherwise damaging
the barge’s fiberglass covers. Additionally, the water level would have allowed the



                                            83
    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 4 of 22



unloaded barge to float over any of the pilings at the south end of the basin, strike the
Namasco warehouse and ground in that location. The fact that there is no damage
consistent with a barge strike on the right side of the photo or to the gantry itself shows
the barge was not blown south from its initial position at the Lafarge Terminal Wharf.




Figure 55: The gantry at the Namasco Corp. facility.




                                            84
     Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 5 of 22




Figure 56: An image of barge ING 4727 elevated and superimposed over a photo of the
Namasco Facility Gantry at the water level at 0600 (6:00 AM) on 29 August. Note that
there is insufficient clearance for the barge to float under the structure.

The evidence showing the barge was not blown to the south end of the basin means
that the wind had to have a strong west-to-east component at the time that the barge
broke free. As shown in Figure 52, the earliest that the wind had a feasible direction
was after 0900 (9:00 AM).

In Appendix B, the report prepared by Waterway Simulation Technology, Inc. there are
several scenarios of the barge moving across the IHNC from the Lafarge Terminal
toward the south breach, moved by winds and currents existing after the occurrence of
the breach. The scenarios demonstrate that before 0900 (9:00 AM) the barge would not
have been able to exit the IHNC Basin.57 Because both breaches were well developed
before 0900 (9:00 AM), the barge did not exit the IHNC basin until after the breaches
had occurred.



57
 Water Flow and Wind Conditions Affecting Movement of ING 4727 Barge in the IHNC During Hurricane
Katrina on August 29, 2005 by Waterway Simulation Technology, Inc (Appendix B).




                                                  85
    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 6 of 22




Figure 57: The most probable path of barge ING 4727 across the IHNC. The red arrow
shows the wind direction at 0900 (9:00 AM) and the white arrows show the current
direction. Based on the barge’s large sail area and shallow draft, wind forces would
have predominated over current forces when influencing the movement of the barge.




                                        86
    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 7 of 22



Damage to Barge ING 4727

As described above, on 27 September 2005 and on numerous subsequent dates, Dr.
Cushing and other expert colleagues visited the site of the levee breaches and the
grounding site of the barge ING 4727 in the Lower Ninth Ward. The team members
photographed the barge in place and inspected the top and sides of the barge at that
time.

Removal of barge ING 4727 from the Lower Ninth Ward took place during early March,
2006, ,when the upper portion of the barge was removed, while the bottom from the
keel to approximately 50 inches in height was cut into 19 sections and transported to a
warehouse for examination. Once the bottom of the barge was salvaged, it was
possible to inspect for damage that may show how it entered the Lower Ninth Ward.

Inspection of the bottom of barge ING 4727 shows numerous parallel scratch marks
aligned approximately parallel with the barge’s longitudinal axis. The scratch marks are
concentrated on the barge’s port side and run from the bow for approximately one third
of the barge’s length. Additionally, some scratch marks wrap around the turn of the
bilge on the forward end of the barge. Although the spacing of these scratch marks
found on the barge’s bottom is not uniform, most of the scratches are parallel and are
spaced between approximately 7 and 11 inches on centers. Appendix H shows photos
that were taken of the bottom sections of the barge. Several of these photos show
examples of scratch marks.

There was some additional damage to the barge, most notably several indentations on
the sides and on the bottom. There were also two locations where the hull was
punctured, one location just above the turn of the bilge and the other just below deck
level, both on the starboard side. Additionally, patches of light abrasion were found on
the bottom, which were noticeably less severe than the other scratch marks described
above. These indentations and punctures are not characteristic of ones that would be
made by a collision with an intact floodwall. Other minor dents and scratches on the
barge are typical of inland barges and the conditions under which they operate, and it is
likely that this was pre-existing damage.

There was no damage on the barge that is consistent with the barge having caused the
failure of the levee such as crushing damage, which could have been apparent if a
major collision had occurred. There was no evidence of a major impact between the
barge and an intact floodwall. Further, there was no damage to the bottom of the barge
other than the parallel scratches which, as will be explained below, were created when
the barge passed over the floodwall after it had already failed.

No damage was found on the fiberglass covers of the barge. This is further proof that
the barge did not come into contact with the Namasco gantry shed.




                                           87
    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 8 of 22




Figure 58: The fiberglass covers of barge ING 4727 (Note lack of damage).

Examination of Impact Damage to Floodwall

Early in this investigation, it was noted that the extreme southern end of the south
breach displays damage that appears to be the result of an impact. In this location, the
floodwall panels transition from an upright position away from the breach to an
overturned position in the breach. This transition does not, by itself, suggest impact.
However, these transitioning panels also show fracturing done to the concrete floodwall
cap as well as steel reinforcing bars that are bent at a sharp angle. Figures 59 and 60
are photos of this damage.

At the transition at the upper (northern) end of the south breach, the panels incline at
increasing angles the closer to the breach they lie, but do not show any fracturing of the
concrete. At the north breach, the transition at the south end is also similar in that the
panels are inclined but show no horizontal fracturing. This discounts the possibility that
torsional or other stresses associated with the failing floodwall could have caused the
pattern of fracturing at the south end of the southern breach, and it shows that damage
from impact is visibly different from the damage created by the initial failure and the
damage at every other location along the failed floodwall.




                                           88
        Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 9 of 22




Figure 59: Damage at the lower (southern) end of the south breach, looking north.

The USACE as-built drawings of the floodwall show that the floodwall contained vertical
pieces of rebar that were spaced at approximately nine inches on center. This rebar
was ASTM No. 6 (3/4” diameter) on the flood side face of the wall and No. 4 (1/2”) on
the land side face. As with any concrete structure, there were small variations in the
spacing of the rebar, but the spacing would have averaged 9 inches. An as-built
drawing of the floodwall obtained from IPET is included in Appendix H and shows the
position of the reinforcing bars.58

After the survey of the bottom of the barge was completed and all damage recorded, the
striations were drawn on a scale drawing of the bottom of the barge according to their
observed position and orientation. This drawing was compared with parallel lines
spaced at 9 inches on center representing the average spacing of the reinforcement. It
was found that the expected number of bars in a given length of wall based on a 9 inch
spacing almost exactly matched the number of scratch marks found on a portion of

58
     IPET File DACW-29-70-B-0126 AB Drawing No. H-4-25157 Dated Nov. 1969.




                                                   89
   Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 10 of 22



barge of the same width. Where there were fewer scratch marks than one would expect
to see based on the construction of the wall, there was often a space where a piece of
reinforcement may have existed but not made contact with the bottom of the barge.
The drawing of scratch marks on the bottom of the barge is shown in Appendix H.
Given this physical evidence, there is little doubt that the scratch marks on the barge
were created when the bottom of the barge came into contact with the rebar as the
barge passed over and across the top of the already failed floodwall.

Figure 60 shows a floodwall panel in the foreground lying in a nearly horizontal position
while the panel in the background is inclined at a less severe angle. This photo
provides important evidence that the floodwall had already failed when the barge came
into contact with the concrete cap and passed over the rebar. The detail that explains in
which direction the damage progressed is the sheetpiling that has separated from the
concrete on the more upright panel. Large pieces of concrete (D) have fallen into this
gap (B) between the sheetpile (A) (on the left) and the concrete panel it had separated
from. This indicates that the gap between the sheetpile and the concrete panel had
formed before the concrete on top of the more upright panel was cracked off and
knocked into the gap.




Figure 60: Damage at south end of breach, looking west.

The angle of the concrete panel in the foreground of this figure, and the damage to that
panel, shows that the wall had failed before contact was made by the barge. This
evidence indicates that the initial contact between the wall and barge was made at the
panel in the foreground, which in the photo is lying in a nearly horizontal position (C).




                                           90
    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 11 of 22



Approximately 6 inches of concrete is missing from the uppermost part of this panel.
The short rebar stubs protruding through the failure plane nearest the photographer are
unbent, but the bars become more bent as they progress away from the photographer.
The near end of the panel, however, does not manifest this type of damage. This
indicates that this panel was in an inclined position before being struck, with the far end
of the panel sitting at a higher elevation than the near end. In other words, the wall was
already down before the barge first made contact.

Quite likely, this panel was pushed further back into its final position due to the scraping
of the barge as it first contacted the panel at point E and then cracked the concrete off
the top 6 inches and bending the rebar ends (F) at the far end of the failed wall panel.
The separation of the concrete panel from the sheetpile in the adjacent panel may also
have occurred at that time. Again, this is localized damage of a type not found
anywhere else on the failed floodwall, and superimposed on pre-existing unrelated
breaching and damage of a type similar to that found elsewhere in the breaches. (The
separation shown in the Figure 60 was between concrete monoliths; the steel sheetpile
remained continuous and intact).




Figure 61: Cross section of the concrete portion of the floodwall, showing the two
different concrete pours separated by a construction joint (left) and the floodwall
cracking at the construction joint as the result of being impacted (right).




                                            91
    Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 12 of 22



The adjacent panel, which is inclined at approximately a 45 degree angle, experienced
failure at the construction joint – that is, the place where the concrete for the tapered
floodwall cap was poured against the already cured concrete of the lower, rectangular
shaped portion of the floodwall. This is a natural plane of weakness in concrete. The
rebar in this section is bent horizontally, making it consistent with the flat bottom of a
barge moving over the rebar. The angle of the bent rebar – virtually parallel to the
ground -- shows that the water level in the Lower Ninth Ward must have been
approximately equal with the water level in the canal when the barge passed over the
rebar. If the water level in the neighborhood had been significantly lower than the water
level in the canal, then the rebar that made the scratch marks on the barge would have
been bent downward at a sharp angle as the barge transited into a lower level of water
instead of being bent almost perfectly horizontal as seen in Figures 59 and 60.

When the scratch marks on the bottom of the barge are superimposed over the
damaged floodwall at the lower (southern) end of the breach, it is apparent that the
barge could not have passed over the floodwall bow first, as the damage is
concentrated on the other side of the barge. The barge would have been traveling in a
south-eastward direction while the bow was angled slightly toward the north. While
moving in this direction, the port side came into contact with the inclined wall panel on
the already failed floodwall. The barge rode up on this floodwall panel, cracking off the
topmost 6 inches of concrete. This panel was pushed further back as the barge went
over and became separated from the adjacent floodwall panel. As the barge continued
to move toward the south, it cracked the next concrete floodwall panel at the
construction joint, causing debris to fall into the gap between the lower portion of the
panel and the separated sheetpile. Once the barge grounded on this panel to the point
where it could no longer continue moving south, it appears to have rotated slightly and
slid off the floodwall backwards into the Lower Ninth Ward, creating the longitudinal
scratch marks. As the bow cleared the floodwall, some of the rebar that had been bent
horizontal by the weight of the barge above sprang back up slightly, creating scratch
marks that wrapped around the turn of the bilge at the barge’s bow.

Figures 62 and 63 show the barge damage superimposed over an aerial photo of the
lower (southern) end of the breach. The scratch marks support this scenario, as the
scratches furthest to the stern are at a greater angle relative to the barge’s longitudinal
axis than the scratch marks closer to the bow. This is evidence that the barge rotated
as the scratch marks were being made.

Because the barge had to have grounded on the inclined floodwall panel, the floodwall
had already failed before the barge arrived. Indeed, in order for the scratch marks that
are present to have occurred where they did, the barge must have had two-thirds of its
length inside the Lower Ninth Ward (on the protected side of the floodwall) before
coming into contact with the floodwall. This evidence confirms the barge entered the
Lower Ninth Ward after the floodwall had already failed.




                                            92
       Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 13 of 22



Some of the water flowing into the Lower Ninth Ward through the breach would have
been flowing southward along Jourdan Ave. Current from this flow would have caused
the barge to rotate.

After the barge slid off of the fractured floodwall, it rotated approximately 90 degrees in
order to come to rest adjacent to the rubble of two ruined houses on either side of N.
Roman St. Several weeks later during Hurricane Rita, the Lower Ninth Ward was re-
flooded when the temporary levee sealing the south breach was overtopped and
eroded. This flooding caused the barge to re-float and come to rest slightly to the west
of its original position.

The presence of upright telephone poles, trees and houses immediately to the east of
the final grounding spot indicate that the barge could only have followed this path.
Fallen telephone lines extended from an upright pole to the south of the barge in a
northerly direction along Jourdan Ave. and under the barge.

The houses on which barge ING 4727 came to a rest provide additional proof that the
barge must have arrived a considerable amount of time after the levee had failed.
These houses are wood framed structures and have limited capability to resist the
forces associated with being struck by a large, heavy object. Research shows that a
wood frame house with diagonal bracing is only able to resist approximately 280 pounds
of lateral load per linear foot of exterior wall.59 This is nowhere near enough strength to
stop a barge if it were being carried by strong currents. The fact that the houses were
able to stop the barge rather than being totally demolished by it indicates that the barge
had very little velocity when it contacted the houses. This limited velocity indicates that
the water on the protected side of the floodwall was nearly equalized with the water on
the canal side when the barge floated in; otherwise the barge would have had a much
higher velocity when it struck the houses and the homes would have been completely
demolished. Thus the barge did not enter the Lower Ninth Ward at the time of or
immediately after the breach occurred.

Figures 64 – 71 show the path barge ING 4727 had to have taken over the floodwall in
order to produce the pattern of scratch marks on its bottom.




59
     Shear Resistance of Wood Frame Walls by A.T. Hansen, 1985.




                                                       93
   Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 14 of 22




Figure 62: Scratch marks from bottom of barge superimposed over aerial photo of south
end of breach, position 1. The red arrow indicates the direction the barge is traveling.




Figure 63: Scratch marks from bottom of barge superimposed over aerial photo of south
end of breach, position 2. The red arrow indicates the direction the barge is traveling.



                                          94
   Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 15 of 22




Figure 64. Note that houses that are shaded are homes that were not washed away by
the breaching. Houses that are outlines had been destroyed by the time the barge
arrived. The red arrows indicate current.




Figure 65.



                                        95
   Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 16 of 22




Figure 66.




Figure 67.



                              96
   Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 17 of 22




Figure 68.




Figure 69.



                              97
   Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 18 of 22




Figure 70.




Figure 71.



                              98
   Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 19 of 22



The examination of the floodwall for impact damage answers the question of whether
impact with the top of the concrete floodwall panels would result in damage to the
concrete cap, or failure of the underlying embedded sheetpiling. As is shown in the
above photos, both shearing of the top of the tapered cap and fracture at the
construction joint did occur. However, nowhere was the concrete panel cracked at the
top of the sheetpiling, and nowhere did the sheetpiling fail in any other manner as a
result of such impact. This corroborates that shearing off of the top of tapered cap and
fracture of the construction joint are what would occur if the concrete floodwall were
struck. In other words, impacting the concrete cap atop the floodwall does not cause
the sheetpile below the cap to fail.

Interestingly, the south breach along Jourdan Ave. is not the only location where this
fact can be verified. During Hurricane Katrina, there were reports of barges striking
other floodwalls of near identical design to the one in question. One wall was located in
New Orleans East in the vicinity of the Michoud Canal. As can be seen from the photo
below from IPET, the tapered cap of the wall was sheared off, leaving stubs of rebar
exposed. This is exactly what happened when barge ING 4727 came into contact with
the first panel at the south end of the breach along Jourdan Ave. As is apparent in the
photo, the floodwall remained standing following the barge strike. There was another
barge impact of the floodwall near the Paris Road Bridge along the MRGO. As can be
seen from Figure 73, barge ING 5848 did not cause this floodwall to fail.

These photos show that a barge impact with the concrete cap of a floodwall does not
cause the floodwall to fail. Rather, the concrete cap gives way and the sheetpile
remains intact.

By contrast, the IHNC floodwall breaches resulted from deep-seated sheetpile failure.
This failure could not have been caused by a barge impact with the concrete cap of the
wall.




                                           99
       Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 20 of 22




Figure 72: Damage to a floodwall in New Orleans East due to a barge impact. 60




60
     IPET Report Vol. V Chapter 12 Figure 12-53.




                                                   100
       Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 21 of 22




Figure 73: A barge strike along the MRGO under the Paris Road Bridge. 61




61
     IPET website.




                                         101
       Case 2:05-cv-04182-SRD-JCW Document 20405-28 Filed 08/30/11 Page 22 of 22




Figure 74: A barge that impacted and came to rest on a floodwall near the Bayou
Bienvenue Control Structure. The concrete cap was damaged, but the floodwall did not
fail.62




62
     IPET website.




                                        102
